Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 1 of 15 PagelD: 1599

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
CAMDEN DIVISION

DALE M. IRVING
Plaintiff, THIRD AMENDED COMPLAINT.

1:19-CV-07276-NLH-JS

VS.

BOARD OF CHOSEN
FREEHOLDERS OF BURLINGTON
COUNTY, NEW JERSEY, EVAN
H.C. CROOK INDIVIDUALLY
AND OFFICIALLY AS THE
COUNTY ADJUSTER FOR
BURLINGTON COUNTY and
VIRTUA MEMORIAL HOSPITAL.

ee ee

Defendants.
L,

This is an action for damages pursuant to 42 U.S.C. § 1983 based on a
more than nineteen (19) years violation of Plaintiff's rights under the Fourth,
Fifth and Fourteenth Amendments to the United States Constitution.
Jurisdiction exists pursuant to 28 U.S.C. § 1331 and 1334 based on 42 U.S.C.
§ 1983 and questions of federal Constitutional law. |

2.

Venue is proper in the District of New Jersey in that the events and
conduct complained of herein all occurred in the District, and Defendant is a
resident of this District.

Preliminary Statement
3.

The slats of personal security consists in a person’s legal and

uninterrupted enjoyment of his life, his limbs, his body, his health and his

reputation. Owing to the vast constitutional ramifications of false information

Page 1 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 2 of 15 PagelD: 1600

being placed on the National Instant Criminal Background Check System
(NICS), the government should take the utmost caution to ensure that the
information is accurate and up to date.

A.

A placement of derogatory information regarding anyone should be
preceded by at the very least a thorough investigation to ensure that false and
malicious information is not being placed on the records of innocent persons.
This is true when the vast constitutional deprivations which may occur based
on false and malicious information is considered.

5.

State Agencies and their employees should be trained in such a manner
to ensure that false and malicious information is not placed on an innocent
person’s file not only because of the constitutional ramifications but, also
because such false and malicious information has financial implications for
the innocent person. These include but are not limited to employment denials,
promotion denials and even the denial of other Constitutional rights.

The Parties.
6.

Plaintiff Dale M. Irving (Plaintiff) is a resident of Gwinnett County,
Georgia which is encompassed by the Northern District of Georgia. Service
can be perfected on Plaintiff at 939 Creek Cove Way, Loganville, Georgia
30052.

Ie
The Board of Chosen Freeholders of Burlington County, New Jersey

(The County) is a political and administrative division of the state of New

Page 2 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 3 of 15 PagelD: 1601

Jersey and provide local government services to the resident therein. Service
can be perfected on Burlington County at 49 Rancocas Road, Mount Holly,
New Jersey 08060.

8.

Evan H.C. Crook (Mr. Crook) the County Adjuster and Solicitor for
Burlington County is sued in his official and individual capacity. Burlington
County’s Adjuster is the county official charged with the responsibility for
determining the psychiatric client's financial ability to pay psychiatric agency
and/or the county psychiatric facility for the cost of care and maintenance.
The individual is also responsible for filing a petition with the court to
determine the client's legal settlement and provision for payment of the
client's expense for care and treatment. This petition shall be accompanied by
a report stating the results of the county adjuster's investigation and
recommendations on this matter, as required by R. 4:74-7(i). Service can be
perfected on Mr. Crook at 457 Haddonfield Road, Suite 500, Cherry Hill,
New Jersey, 08002.

Summary of Facts
9.

Plaintiff resided in The County for a period between June 1999 and
July 2003. In July of 2003 Plaintiff moved to Gwinnett County, Georgia and
has been a resident there ever since.

10.

During the preceding 16 years Plaintiff has had no contact with the

state of New Jersey, has not visited the state and only drove through the state

on his way to New York. None of these movement through the state

Page 3 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 4 of 15 PagelD: 1602

necessitated any contact with any official from the state and/or The County.
11.

In March of 2012, Plaintiff applied for and was granted a weapons
carry license by the state of Georgia through the Gwinnett County Probate
Court. Plaintiff was able to use his weapon on assignments for the next five
years.

12.

In August of 2017, Plaintiff applied to have his weapons carry license
renewed. Plaintiff was a parking enforcement agent for private property
owners in the city of Atlanta which necessitated carrying his weapon for his
protection.

. 13.

Plaintiff's weapons carry license was denied because The County had
placed with the NICS a derogatory record that Plaintiff had been committed
by a court in The County for a mental defect. This was, is and continues to be
a false statément. :

14.

Based upon information, on September 17, 2000 Plaintiff and his then
wife, Elaine Summers, had an argument at approximately 4:00 am in the
morning. At approximately 6:00pm that evening Plaintiff was arrested
without incident by the Pemberton Township Police Department (PTPD).
PTPD transported Plaintiff directly to Virtua Memorial Hospital (Virtua)
without any reason being given.

15.
While at Virtua Plaintiff was beaten, physically and chemically

Page 4 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 5 of 15 PagelD: 1603

restrained and transported to Buttonwood Hospital, a locked psychiatric
facility. The Psychiatrist who signed the screening certificate permitting
Plaintiff's transfer to the locked facility had not spoken to Plaintiff once, nor
any member of Plaintiff's family before signing the screening certificate.
Instead, the screening certificate was signed to coverup the beating, physical
restraint, chemical restraint and drawing of Plaintiff's blood against his
wishes. Further, Plaintiffs file did not contain a police report indicating any
behavior necessitating a mental health screening; Plaintiffs file did not
contain a judicial order mandating a mental health screening; and Plaintiff's
file did not contain a certification of a mental health screener who had
observed behavior necessitating a mental health screening before arriving at
Virtua Memorial Hospital.

16.

Evan H. C. Crook was the County Adjuster for The County at the time
of this incident. In an effort to protect Defendant Virtua from the legal
repercussions associated with its conduct, Mr. Crook perpetuated the myth
that Plaintiff was committed. This, notwithstanding his office being informed
on September 21, 2000 that Plaintiff had been discharged from Button Wood
Hospital, and his duty pursuant to New Jersey Administrative Codes to
review Plaintiffs file for accuracy and completeness. This ministerial review
would have promptly informed Mr. Crook there was only one screening
certificate in Plaintiff's file and the psychiatrist who signed the certificate had
not spoken to Plaintiff, or any member of Plaintiff's family, and there was no
document requesting a screening before Plaintiff was brought to Virtua

Memorial Hospital.

Page 5 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 6 of 15 PagelD: 1604

17.

Evan H. C. Crook then using the cloak of his official capacity as the
County Adjuster caused Plaintiff's information to be entered into the
County’s local computer system as one who had been committed or
adjudicated mentally incompetent. This was done in further effort to cover
for Virtua’s beating, physical restraint, chemical restraint and withdrawal of
Plaintiff's blood without consent.

18.

Mr. Crook’s continued participation in this coverup of unlawful
activity by Virtua included, gathering evidence on behalf of Virtua to ensure
Plaintiff was denied any legal relief for the unlawful activity of Virtua.

| 19.

Placing Plaintiff's information on Burlington County’s local computer
system ensured it would be placed on the Civil Commitment Automated
Tracking System (CCATS). This information was automatically sent to the
New Jersey State Police to be placed on the NICS. |

20.

Defendant Board of Chosen Freeholders of Burlington County (The
County) had no policies or procedures in place to protect.the information of
the innocent, failed to supervise its Adjuster to prevent unlawful conduct, and
failed to supervise its Adjuster to ensure he acted within the scope of the New
Jersey Administrative Codes. Further, The County failed in its duty to train
its adjuster, siven the vast constitutional ramifications of placing false
information on NICS regarding an innocent person. The Need for this

training was openly obvious as false mental health information had the ability

Page 6 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 7 of 15 PagelD: 1605

to deny a citizen his rights under the Second Amendment of the US

Constitution, deny a citizen employment opportunities, deny a citizen

promotions, and even the authority for a citizen to conduct his own affairs.
DLs

Cloaked in the authority of New Jersey’s Commitment statutes, and the
police powers of the state, The County violated Plaintiff's civil rights by
allowing Plaintiffs name to be placed on NICS without a fair and impartial
investigation, a fair and impartial trial, unlawfully seizing Plaintiffs
reputational property rights and Plaintiffs right to keep and bear arms.

22.

Defendant’s conduct inflicted emotional distress on Plaintiff. This
emotional distress has had a severe physical impact on Plaintiff. This
physical impact has caused physical injuries which will impact Plaintiff's life
permanently.

23.

As Defendant Crook’s actions were intentional, wanton and reckless
Plaintiff is entitled to punitive damages in an amount to be determined by the
enlightened conscience of a fair and impartial juries against this Defendant in
his individual capacity.

COUNT ONE
Violation of Fourteenth Amendment
Due Process Right to a fair and Impartial Investigation
| 24.

Plaintiff incorporates by reference paragraphs 1 through 23 as if fully

restated here and further states the following.

Page 7 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 8 of 15 PagelD: 1606

29:

Had Plaintiff been committed to a mental institution for a mental defect
by a competent court, there would exist a Court Order/a second screening
certificate memorializing this commitment. Burlington County failed to
conduct even a cursory investigation to determine if such a Court Order
existed.

26.

Without the proper training, or supervision a temporary employee was
allowed to place false and malicious information on CCATS regarding
Plaintiff, no investigation was done, violating Plaintiff's procedural due
process rights to some minimal process before the government acting under
state law places his constitutional rights at risk.

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Burlington County’s total failure to afford Plaintiff at the very least a
cursory investigation to determine whether a competent court had committed
Plaintiff, was a violation of Plaintiff's right to procedural due process as
guaranteed by the Fourteenth Amendment to the United States Constitution.

COUNT TWO
Violation of Fourteenth Amendment
Due Process Right to A Fair and Impartial Trial
28.

Plaintiff incorporates by reference paragraphs 1 through 27 as if full

stated here and further states the following.
29.
With full knowledge that false and malicious information on the NICS

Page 8 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 9 of 15 PagelD: 1607

could lead to false arrests, false imprisonment, unlawful detentions, denial of
Second Amendment rights, denial of the right to administer one affairs
among other things, Burlington County allowed a temporary employee to
place false information on CCATS regarding Plaintiff.

. 30.

This was done without affording Plaintiff notice and an opportunity to
be heard, ten years after Plaintiff had, had any contact with the state of New
Jersey and/or The County. This total denial of notice and thé opportunity to
be heard denied Plaintiff a fair and impartial trial.

31s

By totally denying Plaintiff notice and an opportunity to be heard,
Burlington County acting under color of state law denied Plaintiff's
substantial due process rights to a fair and impartial trial.

COUNT THREE
Violation of Fourth Amendment
Due Process Right to be Free From Unlawful Seizure _
Bae

Plaintiff incorporates by reference paragraphs 1 through 31 as if full
stated here and further states the following.

a2:

Plaintiff has a liberty interest in his reputation as such, when the
government infringes this right to Plaintiff's reputation, Plaintiff is entitled to
a modicum of due process. This is even more necessary when it is considered
that Plaintiff had, had no contact with the state of New Jersey for ten (10)

years when this false information was placed on CCATS regarding Plaintiff.

Page 9 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 10 of 15 PageID: 1608

34.

By libeling Plaintiff, Burlington County essentially seized Plaintiff's
reputation without due process. This was done acting under color of state law
to provide mental health records to the NICS to prevent individuals with
mental illness from owning, and/or possessing a fire arm.

36.

Placing false information on CCATS regarding Plaintiff is the same as
swearing falsely on a warrant to effect the arrest of a person, as such The
County knew what it was doing violated Plaintiff's Constitutional rights.

37.

The County infringed on Plaintiff's liberty interest in his reputation

without due process, as is guaranteed by the Fourth Amendment to the

United States Constitution.

COUNT FOUR
Violation of Second Amendment
Right to Keep and Bear Arms
38.
Plaintiff incorporates by reference paragraphs 1 through 37 as if fully
stated here and further states the following.
39.
The County acting under color of state law intended to and did infringe
on Plaintiff’ s right to keep and bear arms. As Burlington County published
this false defamatory statement regarding Plaintiff nationwide, it allowed

anyone who accessed the NICS to deny Plaintiff his Second Amendment

Page 10 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 11 of 15 PagelD: 1609

right.
40.

When the Gwinnett County probate court conducted a background
check on Plaintiff and found this false information, Plaintiff was denied a
weapons carry license. This denial placed Plaintiff's life at risk.

Al,

Burlington County acted arbitrarily and capriciously by placing false
information on Plaintiffs NICS file, denying Plaintiff the right to keep and
bear arms as guaranteed by the Second Amendment to the United States
Constitution.

COUNT FIVE
State Law Claim for the Tort of Libel against
the County Adjuster in his Individual capacity.
42.

Plaintiff incorporates by reference paragraphs 1 through 41 as if fully

stated here and further states the following. .
43.

The County Adjuster, Mr. Crook, is tasked with investigating
commitments to ensure they meet statutory and constitutional standards, to
receive and review commitment records to ensure they meet statutory and
constitutional standards, and to secure these records in a manner consistent
with statutory and constitutional standards.

| 44.
Mr. Crook in a reckless disregard for his duties, failed to review

Plaintiff's records, published or caused to be published falsely on the NICS

Page 11 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 12 of 15 PagelD: 1610

that Plaintiff had been adjudicated or committed for a mental defect.
45.

This publication of false information libeled Plaintiff nationwide as this
information was available to any law enforcement official, government
official, employers or anyone who could pay to conduct a background check
on Plaintiff.

46.
This unlawful conduct caused Plaintiff damages in an amount to be
proven at trial.
COUNT SIX
Claim for Punitive Damages against
the County Adjuster in his personal capacity and Virtua
Memorial Hospital of Burlington County.
A7.

Plaintiff incorporates by reference paragraphs 1 through 46 as if fully

stated here and further states the following.
48.

Notwithstanding statutory duty to investigate, the County Adjuster, Mr.
Crook recklessly disregarded his duty to Plaintiff, acted with a conscious
disregard for the consequences of his action when he published falsely that
Plaintiff had been adjudicated or committed for a mental defect nationally.
Further, Mr. Crook. acted in concert with Virtua Memorial Hospital of
Burlington County in an effort to protect them from liability.

49.
The County Adjuster and Virtua Memorial Hospital acted with the

Page 12 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 13 of 15 PagelD: 1611

requisite culpability so as to require punitive damages against him in his
individual capacity and against Virtua in its corporate Capacity.
COUNT SEVEN
Civil Conspiracy Between The County Defendants
And Virtua Memorial Hospital of Burlington County
50.
Plaintiff incorporates by reference paragraphs 1 through 49 as if fully
Stated here and further states the following.
SL.

On or about September 21, 2000 Defendants Board of Chosen
Freeholders of Burlington County, New Jersey were informed by
Buttonwood Hospital that Plaintiff had not been committed. Knowing that
Plaintiff's rights were violated at Virtua Memorial Hospital a decision was
made to enter Plaintiff in the local computer system as being committed. This
was done to protect Defendant Virtua Memorial Hospital from legal liability
for violating Plaintiff s rights.

52.

Having placed Plaintiff on the local computer system, the temporary
data entry workers had no option other than placing Plaintiff on the Civil
Commitment Automated Tracking System.(CCATS) CCATS was meant to
be used by the New Jersey State Police as the system from which information
was directly transferred to the National Instant Criminal Background Check
System. Thus as a direct result of this conspiracy to unlawfully place
Plaintiff's name on the local computer system, Plaintiff's civil rights were

once again violated.

Page 13 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 14 of 15 PageID: 1612

53.

Plaintiff suffered mental and emotional anguish, Plaintiffs life was
placed in danger, the physical impact of the mental anguish has created
physical health problems which will need treatment for the rest of Plaintiff's
life and may have shortened Plaintiff's life. Plaintiff is entitled to damages

including punitive damages.

WHEREFORE Plaintiff prays for:

I. . A trial by Jury;

ll. Judgment against Board of Chosen Freeholders of Burlington
County New Jersey;

II. |General and Compensatory damages against all Defendants;

IV. For Punitive Damages against Evan H.C. Crook in his individual
capacity and Virtua Memorial Hospital; and

VY. For any other relief this court deems just and appropriate.

mrad PS is Uy day of May, 2020.

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Page 14 of 15
Case 1:19-cv-17196-NLH-JS Document 124 Filed 05/12/20 Page 15 of 15 PagelD: 1613

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Page 15 of 15
